                                      Case 9:23-cv-80344-AMC Document 1-5 Entered on FLSD Docket 03/02/2023 Page 1 of 1




                                                                                                                                    RECEIPT
                                              JOSEPH ABRUZZO                                                                           4640121


                           CLERK OF THE CIRCUIT COURT & COMPTROLLER
                                                                                                                                      Printed On:
                                     PALM BEACH COUNTY, FLORIDA                                                                     10/11/2022 09:33
       ^£ach co;                                                                                                                      Page 1 of 1


                          Receipt Number: 4640121 - Date 10/11/2022 Time 9:33AM
Received of:              Zedrick Barber II
                          3262 MIRELLA DR
                          RIVIERA BEACH, FL 33404
Cashier Name:             ADMIN                                                                               Balance Owed:                      401.00
Cashier Location:         E-Filing                                                                            Total Amount Paid:                 401.00
Receipt ID:         11005202                                                                                  Remaining Balance:                   0.00




                                                                                                                             PY
Division:           AD: Circuit Civil Central - AD(Civil)
                                                                   -
       Case# 50-2022-CA-009847-XXXX-MB PLAINTIFF/PETITIONER: ONEAL, KWAMAIN




                                                                                                                     CO
                     Item                            Balance Paid   Bal Remaining
Fees                                                                                             401.00                    401.00                   0.00
Case Total                                                                                   401.00                       401.00                    0.00

                                                                   Payments



                                                                                                     D
                   Type                                                  Ref#                                                   Amount
EFiling_CREDITCARD
Total Received
                                                                                     IE                                                          401.00
                                                                                                                                                 401.00
Total Paid                                                                                                                                       401.00
                                                                       IF
                                                  RT

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